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23-cr-239

Judge Gettleman

re LL Vo TE ID Magistrate Judge Fuentes

Randomly Assigned CAT 2
PR 19 2023 \e UNITED STATES DISTRICT COURT
A NORTHERN DISTRICT OF ILLINOIS
SG BRUTON EASTERN DIVISION
CLERK US. DISTRICT COURT
UNITED STATES OF AMERICA
Case No.
Vv. Violations: Title 21, United States

Code, Sections 841(a)(1) and 846
THOMAS CONSIDINE

COUNT ONE

The SPECIAL OCTOBER 2022 GRAND JURY charges:

Beginning no later than in or about August 2020, and continuing until at least
on or about May 4, 2021, at Chicago, in the Northern District of Illinois, Eastern
Division, and elsewhere,

THOMAS CONSIDINE,
defendant herein, did conspire with Max Schaefer, and with others known and
unknown to the Grand Jury, to knowingly and intentionally possess with intent to
distribute and distribute a controlled substance, namely, 50 grams or more of
methamphetamine (actual), a Schedule II Controlled Substance, in violation of Title
21, United States Code, Section 841(a)(1);

In violation of Title 21, United States Code, Section 846.
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COUNT TWO
The SPECIAL OCTOBER 2022 GRAND JURY further charges:
On or about April 26, 2021, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere,
THOMAS CONSIDINE,

defendant herein, did attempt to knowingly and intentionally possess with intent to

distribute a controlled substance, namely, 50 grams or more of methamphetamine

(actual), a Schedule II Controlled Substance, in violation of Title 21, United States
Code, Section 841(a)(1);

In violation of Title 21, United States Code, Section 846.
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COUNT THREE

The SPECIAL OCTOBER 2022 GRAND JURY further charges:

On or about April 26, 2021, at Chicago, in the Northern District of Illinois,
Eastern Division, and elsewhere,

THOMAS CONSIDINE,

defendant herein, did attempt to knowingly and intentionally possess with intent to
distribute a controlled substance, namely, 50 grams or more of methamphetamine
(actual), a Schedule II Controlled Substance, in violation of Title 21, United States
Code, Section 841(a)(1);

In violation of Title 21, United States Code, Section 846.

A TRUE BILL:

 

FOREPERSON

 

Signed by Erika L. Csicsila on behalf of the
ACTING UNITED STATES ATTORNEY
